

People v Williams (2023 NY Slip Op 04852)





People v Williams


2023 NY Slip Op 04852


Decided on September 29, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 29, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., CURRAN, MONTOUR, GREENWOOD, AND DELCONTE, JJ.


616 KA 22-01212

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vGAMEL WILLIAMS, DEFENDANT-APPELLANT. (APPEAL NO. 3.) 






THE LEGAL AID BUREAU OF BUFFALO, INC., BUFFALO (ROBERT L. KEMP OF COUNSEL), FOR DEFENDANT-APPELLANT.
JOHN J. FLYNN, DISTRICT ATTORNEY, BUFFALO (MICHAEL J. HILLERY OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Supreme Court, Erie County (Russell P. Buscaglia, A.J.), rendered May 8, 2019. The judgment convicted defendant, upon his plea of guilty, of attempted burglary in the second degree (four counts). 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Same memorandum as in People v Williams ([appeal No. 1] — AD3d — [Sept. 29, 2023] [4th Dept 2023]).
Entered: September 29, 2023
Ann Dillon Flynn
Clerk of the Court








